         Case 7:21-cv-00132-WLS Document 18 Filed 09/23/22 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                   VALDOSTA DIVISION

MICHAEL SNEED,                                     *

                      Plaintiff,                   *
v.                                                     Case No.7:21-cv-00132(WLS)
                                                   *
PHILLIP CONNEL, et al.,
                                                   *
                  Defendants.
___________________________________                *


                                       JUDGMENT

       Pursuant to this Court’s Order dated September 22, 2022, and for the reasons stated

therein, JUDGMENT is hereby entered in favor of Defendants. Plaintiff shall recover nothing of

Defendants. Defendants shall also recover costs of this action.

        This 23rd day of September, 2022.

                                             David W. Bunt, Clerk


                                             s/ Kathleen S. Logsdon, Deputy Clerk
